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                                                                2450 St. Rose Pkwy., Suite 200
                                                            5   Henderson, Nevada 89074
                                                                (702) 796-4000 (telephone)
                                                            6   (702) 796-4848 (facsimile)
                                                                Attorneys for BIGELOW AEROSPACE, LLC,
                                                            7   a Nevada limited liability company
                                                            8                                 UNITED STATES DISTRICT COURT
                                                            9                                        DISTRICT OF NEVADA
                                                           10   BIGELOW AEROSPACE, LLC, a Nevada limited
                                                                liability company,                                           Case No.
GERRARD, COX & LARSEN




                                                           11
                        2450 St. Rose Parkway, Suite 200




                                                                                       Plaintiff,                            Dept. No.
                           Henderson, Nevada 89074




                                                           12   vs.
                                 (702) 796-4000




                                                           13   NATIONAL AERONAUTICS AND SPACE
                                                                ADMINISTRATION (NASA); DOES 1-10, and ROE
                                                           14   ENTITIES 1-10, inclusive,
                                                           15                     Defendants.
                                                                ___________________________________________
                                                           16
                                                           17                                              COMPLAINT
                                                           18          COMES NOW, Plaintiff BIGELOW AEROSPACE, LLC by and through its attorneys,
                                                           19   GERRARD COX LARSEN, and hereby files its Complaint against Defendants, as follows:
                                                           20                                                 PARTIES
                                                           21          1.      Plaintiff BIGELOW AEROSPACE, LLC (“Bigelow Aerospace”) is a Nevada
                                                           22   limited liability company, and is duly licensed and doing business in Clark County, Nevada.
                                                           23          2.      Defendant NATIONAL AERONAUTICS AND SPACE ADMINISTRATION
                                                           24   (“NASA”) is a federal government agency, headquartered in Washington, DC.
                                                           25          3.      The true names of Defendants DOES 1-10 and ROE ENTITIES 1-10, inclusive, are
                                                           26   unknown to Plaintiff at this time, and therefore Plaintiff brings suit against them by the foregoing
                                                           27   fictitious names. Plaintiff is informed and believes, and upon such alleges, that each of the
                                                           28   Defendants designated as a DOES, and ROE ENTITIES, is responsible in some manner for the
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                                                            1   events and happenings referred to in this Complaint. Plaintiff will ask leave of this Court to amend
                                                            2   this Complaint and insert the true names and capacities of said the DOE and ROE ENTITIES
                                                            3   Defendants, inclusive, when the same have been ascertained by Plaintiff, together with the
                                                            4   appropriate charging allegations, and to join these Defendants in this action.
                                                            5                                      JURISDICTION AND VENUE
                                                            6          4.      This Court has original jurisdiction of this action pursuant to 28 U.S.C. § 1346, as
                                                            7   the Plaintiff brings this suit against NASA, which is a government agency of the United States of
                                                            8   America. Furthermore, this Court has jurisdiction of this action pursuant to 28 U.S.C. § 1491(a)(1),
                                                            9   because Plaintiff’s claims are based upon express or implied contracts with NASA, which is an
                                                           10   agency of the United States of America.
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                                                           11          5.      Venue is appropriate in the United States District Court for the District of Nevada, in
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                           Henderson, Nevada 89074




                                                           12   that the Defendants can be said to reside and/or do business in this district as required under 28
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                                                           13   U.S.C. § 1391(e). Alternatively, venue is appropriate because a substantial part of the events or
                                                           14   omissions giving rise to the claim occurred in Las Vegas, Nevada. See 28 U.S.C. § 1391(b)(2).
                                                           15                                      PROCEDURAL REQUISITES
                                                           16          6.      All conditions precedent to the filing of this action have been met by Plaintiff in that
                                                           17   it has filed a timely claim in compliance with The Contract Disputes Act of 1978 (CDA).
                                                           18          7.      On December 17, 2021, Robert T. Bigelow, President of Bigelow Aerospace, sent a
                                                           19   payment demand letter (“First Demand Letter”) to NASA Contracting Officer Doug Craig,
                                                           20   Strategic Analysis and Planning Manager, Human Exploration and Operations Mission Directorate,
                                                           21   pursuant to which Bigelow Aerospace made a demand for payment in the amount of ONE
                                                           22   MILLION FIFTY THOUSAND and NO/100 DOLLARS ($1,050,000.00) (the “Demand Amount”),
                                                           23   in relation to Bigelow Aerospace’s full performance of certain obligations under NASA Contract
                                                           24   No. NNH15CN82C (the “Contract”), which resulted in NASA’s payment obligation (see further
                                                           25   detailed allegations related to the terms and performance of the Contract, stated below). The First
                                                           26   Demand Letter noted that Bigelow Aerospace had fully performed its obligations under the
                                                           27   Contract, giving rise to NASA’s payment obligation, had performed in good faith, and that it was
                                                           28   now seeking immediate payment from NASA.

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                                                            1          8.      On or about January 6, 2021, Bigelow Aerospace, through its former counsel,
                                                            2   Alistair B. Dawson, Esq., of the law firm of Beck Redden LLP, sent a second demand letter
                                                            3   (“Second Demand Letter”) to NASA Contracting Officer Doug Craig, pursuant to which Bigelow
                                                            4   Aerospace made a second demand for payment of the Demand Amount. The basis of the Second
                                                            5   Demand Letter was once again that NASA had failed to pay Bigelow Aerospace the Demand
                                                            6   Amount that was due and owing, despite the fact that Bigelow Aerospace had fully performed
                                                            7   under the Contract, to trigger NASA’s payment obligation.
                                                            8          9.      On February 6, 2021, NASA Attorney Vince Vanek, LS01 / Office of Chief
                                                            9   Counsel, responded to the Second Demand Letter via email (the “February 6, 2021 NASA Email”),
                                                           10   whereby Mr. Vanek demanded that Bigelow Aerospace provide NASA with extensive test data that
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                                                           11   Bigelow Aerospace was not obligated to provide under the terms under the Contract, prior to
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                           Henderson, Nevada 89074




                                                           12   receiving payment from NASA. Otherwise, NASA ignored Bigelow Aerospace’s payment
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                                                           13   demand, and made no offer to pay Bigelow Aerospace the Demand Amount.
                                                           14          10.     On February 17, 2021, Bigelow Aerospace, through its newly retained counsel,
                                                           15   Douglas D. Gerrard, Esq., of the law firm of Gerrard Cox Larsen, sent a third demand letter to
                                                           16   NASA attorney Vince Vanek (“Third Demand Letter”), whereby Mr. Gerrard outlined to Mr.
                                                           17   Vanek that Bigelow Aerospace had already fully performed all obligations under the Contract
                                                           18   entitling it to payment, and that it would not incur the additional, significant costs that NASA was
                                                           19   now requesting from Bigelow Aerospace as a prerequisite to NASA paying the Demand Amount,
                                                           20   and that NASA’s new demands would result in significant delay, expense, and financial harm to
                                                           21   Bigelow Aerospace. In the Third Demand Letter, a payment deadline by Bigelow Aerospace was
                                                           22   set for February 28, 2021.
                                                           23          11.     On March 6, 2021, NASA Attorney Vince Vanek, LS01 / Office of Chief Counsel,
                                                           24   responded to the Third Demand Letter via email (the “March 6, 2021 NASA Email”), whereby Mr.
                                                           25   Vanek once again demanded that Bigelow Aerospace provide additional raw test data from Bigelow
                                                           26   Aerospace’s testing carried out under the Contract, as a prerequisite to Bigelow Aerospace being
                                                           27   paid the Demand Amount by NASA. However, this requirement was not a term of the Contract,
                                                           28   ///

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                                                            1   and was an attempt by NASA to place additional requirements on Bigelow Aerospace that had not
                                                            2   been part of the parties’ agreement, as memorialized by the Contract.
                                                            3          12.     The February 28, 2021 payment deadline stated in Bigelow Aerospace’s Third
                                                            4   Demand Letter to NASA has now expired, and NASA has failed to pay Bigelow Aerospace the
                                                            5   amounts due and owing under the Contract.
                                                            6          13.     Accordingly, Bigelow Aerospace has exhausted all other administrative remedies
                                                            7   with NASA to remedy and pursue its claim, and now brings the instant claim in this Court.
                                                            8                                      GENERAL ALLEGATIONS
                                                            9          14.     Bigelow Aerospace is an American space technology company which develops,
                                                           10   designs, and manufactures, among other things, expandable space station modules (“Expandable
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                                                           11   Modules”).
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                           Henderson, Nevada 89074




                                                           12          15.     One of the Expandable Modules developed and designed by Bigelow Aerospace is
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                                                           13   its Expandable Bigelow Advanced Station Enhancement (the “B330”), which is a full-sized ground
                                                           14   prototype expandable module, intended for deep space habitation.
                                                           15          16.     Related to the B330 project, during or about August, 2016, Bigelow Aerospace
                                                           16   entered into an agreement with NASA, identified as Contract No. NNH15CN82C, NextSTEP Phase
                                                           17   2 B330 (i.e., the “Contract”), whereby Bigelow Aerospace agreed to perform and complete a
                                                           18   certain long term pressure leak test on its prototype B330 module, for the benefit of NASA,
                                                           19   referred to as the CLIN5b Long Duration Leak Test (“LDL Test”), for the purpose of demonstrating
                                                           20   that the B330 module meets NASA’s standards of construction and reliability. The allowed leak
                                                           21   variance under the LDL Test and the test procedures were specified by NASA in the Contract and
                                                           22   related documents.
                                                           23          17.     Under the terms of the Contract, Bigelow Aerospace was required to perform a leak
                                                           24   test on the B330 module, and provide certain periodic test reports to NASA (the “Report(s)”)
                                                           25   detailing the progress and results of the test. Each scheduled Report was required to summarize the
                                                           26   results of the LDL Test for a set period of time, and specifically set forth whether the B330 had met
                                                           27   the minimum allowed leak variance, which variance standard was set by NASA (the “Contract
                                                           28   ///

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                                                            1   Deliverables”). The schedule for the Bigelow Aerospace providing the Contract Deliverables to
                                                            2   NASA, as set forth in the Contract, was as follows:
                                                            3                               LONG DURATION LEAK MILESTONES
                                                            4
                                                                               Milestone   Milestone 2   Milestone 3       Milestone 4   Milestone 5   Milestone 6   Milestone 7
                                                                               1
                                                            5
                                                                 Description   Assembly    Settling      Leak Rate         Leak Rate     Leak Rate     Leak Rate     Leak Rate
                                                            6                  of LDL      Period        Calculation       Calculation   Calculation   Calculation   Calculation
                                                                               Primary     + 30 days     #1                #2            #3            #4            #5
                                                            7                  Structure                 +60 days          +90 days      +120 days     +150 days     +180 days
                                                                               Completed
                                                            8
                                                                 Contract          -       1st Report    2nd Report        3rd Report    4th Report    5th Report    6th Report
                                                            9    Deliverable

                                                           10
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                                                           11           18.    Importantly, the Contract contains no requirement that Bigelow Aerospace had to
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                                                           12   provide NASA with continuous and/or raw LDL Test data; rather, in the required Contract
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                                                           13   Deliverables (i.e., providing NASA the scheduled LDL Test Reports) Bigelow Aerospace was only
                                                           14   required to provide sufficient data to NASA in its Reports to show and demonstrate that pressure
                                                           15   was maintained in the B330 module, over a 6-month period, within the allowable variance.
                                                           16           19.    Under the terms of the Contract, in exchange for Bigelow Aerospace completing the
                                                           17   6-month LDL Test and providing NASA with the six (6) scheduled Contract Deliverables (i.e.,
                                                           18   providing the scheduled LDL Test Reports), NASA agreed to pay Bigelow Aerospace the contract
                                                           19   price of ONE MILLION SIX HUNDRED FIFTY THOUSAND and NO/100 DOLLARS
                                                           20   ($1,650,000.00), of which the remaining balance owed to Bigelow Aerospace is ($1,000,000.00)
                                                           21   (the “Contract Amount”)1.
                                                           22           20.    On or about December 21, 2019, Bigelow Aerospace commenced with the scheduled
                                                           23   LDL Test, in accordance with the Contract.
                                                           24   ///
                                                           25   ///
                                                           26
                                                           27
                                                                       1
                                                           28            Bigelow Aerospace has determined that the actual amount presently due is $1,000,000.00,
                                                                rather than the $1,050,000.00 described in the Demand Letters.

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                                                            1          21.     Thereafter, Bigelow Aerospace fully performed the LDL Test according to the
                                                            2   testing standards and schedule agreed upon by NASA and Bigelow Aerospace, and completed the
                                                            3   LDL Test on or about August 31, 2020.
                                                            4          22.     In accordance with the terms of the Contract, Bigelow Aerospace provided the
                                                            5   following Contract Deliverables (scheduled LDL Test Reports) to NASA:
                                                            6                  (1)     December 13, 2019 and January, 2020 (a combined report for a two-month
                                                            7                          period as DOC-101318 (“Report No. 1”);
                                                            8                  (2)     February 28, 2020 as DOC-1001403 (“Report No. 2”);
                                                            9                  (3)     September 9, 2020 as DOC-1001441 (“Report No. 3”);
                                                           10                  (4)     October 16, 2020 as DOC-1001446 (“Report No. 4”);
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                                                           11                  (5)     October 16, 2020 as DOC-1001447 (“Report No. 5”);
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                           Henderson, Nevada 89074




                                                           12                  (6)     October 16, 2020 as DOC-1001448 (“Report No. 6”).
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                                                           13   (collectively, the “LDL Test Reports”).
                                                           14          23.     A few issues arose during the course of the LDL Test, however, these issues did not
                                                           15   prevent Bigelow Aerospace from demonstrating that the LDL Test was successful and that the
                                                           16   pressure in the B330 was successfully maintained. Specifically, during the course of the LDL Test,
                                                           17   a localized power surge in the Las Vegas Valley affected Bigelow Aerospace’s headquarters, where
                                                           18   the LDL Test was being conducted. The occurrence of the power surge and its impact on Bigelow
                                                           19   Aerospace was disclosed in the LDL Test Reports. As set forth in the LDL Test Reports, as a result
                                                           20   of the power surge between the dates of 05/08/2020 to 06/08/2020, the computer that houses the
                                                           21   data acquisition system suffered a hard-drive failure. The LDL Test Reports also disclosed that on
                                                           22   the day of the power surge, and as a result of the power surge, the air conditioning at the Bigelow
                                                           23   Aerospace headquarters briefly malfunctioned, which malfunction caused the ambient temperature
                                                           24   in the building to rise, which in turn, according to general principles of physics, slightly affected the
                                                           25   internal pressure in the B330. Between 07/23/2020 and 08/13/2020, another computer failure
                                                           26   resulted in some data not being recorded. However, as set forth in Report No. 6, neither the rise in
                                                           27   temperature, the short term loss of the hard-drive, nor the subsequent computer malfunction, had
                                                           28   any effect on the successful outcome of the B330 leak test, and the data provided in Report No. 6

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                                                            1   makes this abundantly clear. To make up for the loss of data from the power surge and the
                                                            2   computer malfunctions (which combined resulted in a loss of data for approximately 60 days), the
                                                            3   leak test was extended by an additional two months to provide a full six months of data and this
                                                            4   resulted in an 8-month test period.
                                                            5          24.      The data included within the LDL Test Reports demonstrates that the pressure at the
                                                            6   beginning of the 6-month LDL Test period was essentially the same as at the end of the 8-month
                                                            7   period, and the ending pressure was well within the variance that NASA had set for this test.
                                                            8          25.      The LDL Test Reports conclusively established, by a preponderance of the data, that
                                                            9   pressure was maintained within the B330 for the extended eight-month period, even though there
                                                           10   were some issues caused by the power surge and the computer failure events.
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                                                           11          26.      The extent and scope of the data provided by Bigelow Aerospace in the LDL Test
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                                                           12   Reports complies with the terms of the Contract, as the LDL Test Reports provide sufficient data to
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                                                           13   establish that the pressure was maintained in the B330.
                                                           14          27.      Accordingly, Bigelow Aerospace fully performed under the terms of the Contract,
                                                           15   and it is therefore entitled to full payment of the Contract Amount from NASA, for this portion of
                                                           16   the Contract.
                                                           17          28.      However, despite Bigelow Aerospace fully performing under the Contract, NASA,
                                                           18   through its attorney Vince Vanek in the February 6, 2021 NASA Email and March 6, 2021 NASA
                                                           19   Email, is now demanding that Bigelow Aerospace provide it with all of the very extensive, recorded
                                                           20   raw test data, which Bigelow Aerospace accumulated during the duration of the LDL Test, from
                                                           21   December 20, 2019 through August 31, 2020, before NASA will remit payment of the Contract
                                                           22   Amount to Bigelow Aerospace. However, NASA is not entitled to this data until it makes payment
                                                           23   of the Contract Amount. NASA is also demanding that Bigelow Aerospace participate in a time
                                                           24   consuming and expensive technical coordination meeting at NASA headquarters, that is not
                                                           25   required by the Contract. Furthermore, NASA is withholding payment of the $1,000,000.00
                                                           26   Contract Amount from Bigelow Aerospace, unless Bigelow Aerospace complies with this demand.
                                                           27          29.      NASA’s new data demands and meeting demands do not comply with the terms of
                                                           28   the Contract.

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                                                            1             30.   The payment of the Contract Amount by NASA was due and owing to Bigelow
                                                            2   Aerospace on October 16, 2020, and to date, has not been paid by NASA, and is being withheld by
                                                            3   NASA from Bigelow Aerospace.
                                                            4             31.   NASA has withheld, and continues to withhold, the payment of the Contract Amount
                                                            5   to Bigelow Aerospace.
                                                            6                                       FIRST CAUSE OF ACTION
                                                            7                                            (Breach of Contract)
                                                            8             32.   Bigelow Aerospace hereby repeats and realleges each and every allegation
                                                            9   contained in Paragraphs 1 through 31 inclusive, and incorporate the same as though fully set forth
                                                           10   herein.
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                                                           11             33.   The Contract between NASA and Bigelow Aerospace, constitutes a valid, binding,
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                           Henderson, Nevada 89074




                                                           12   and enforceable contract, supported by adequate consideration.
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                                                           13             34.   Under the terms of the Contract, Bigelow Aerospace was obligated to complete the
                                                           14   LDL Test procedure required by NASA, and provide NASA with the Contract Deliverables (i.e.,
                                                           15   provide the six (6) scheduled LDL Test Reports), therein providing sufficient data to establish that
                                                           16   continuous pressure test was achieved within the variance approved by NASA, and providing a
                                                           17   summary of the LDL Test results.
                                                           18             35.   Bigelow Aerospace fully performed its obligations under the Contract, and the data
                                                           19   included within the LDL Test Reports demonstrates that the B330 module performed within the
                                                           20   NASA-specified variance for this test, and met NASA’s leak requirements.
                                                           21             36.   Bigelow Aerospace has performed in good faith, all of its obligations and conditions
                                                           22   precedent in and to this obligation under the Contract.
                                                           23             37.   NASA has breached its obligations under the Contract, by and through, including
                                                           24   but not limited to, willfully, purposely, intentionally, and/or recklessly failing to pay the full
                                                           25   $1,000,000.00 Contract Amount to Bigelow Aerospace, upon Bigelow Aerospace providing the
                                                           26   LDL Test Reports, and by demanding that Bigelow Aerospace perform additional actions before
                                                           27   NASA will pay the Contract Amount to Bigelow Aerospace.
                                                           28   ///

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                                                            1             38.    As a direct and proximate result of the breach of the Contract by NASA, Bigelow
                                                            2   Aerospace has been damaged in an amount in excess of $1,000,000.00.
                                                            3             39.    Bigelow Aerospace has been required to incur attorneys fees and costs in
                                                            4   prosecuting this matter, and pursuant to the Contract and the laws of the United States of America,
                                                            5   should be awarded those attorneys fees and costs from NASA incurred in bringing and prosecuting
                                                            6   this suit.
                                                            7                                      SECOND CAUSE OF ACTION
                                                            8                      (Breach of Implied Covenant of Good Faith and Fair Dealing)
                                                            9             40.    Bigelow Aerospace hereby repeats and realleges each and every allegation
                                                           10   contained in Paragraphs 1 through 39 inclusive, and incorporate the same as though fully set forth
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                                                           11   herein.
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                           Henderson, Nevada 89074




                                                           12             41.    There exists under federal law an implied covenant of good faith and fair dealing
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                                                           13   inherent in the Contract between Bigelow Aerospace and NASA.
                                                           14             42.    By the actions identified herein, NASA has breached its respective covenants of
                                                           15   good faith and fair dealing inherent in the Contract, by refusing to pay Bigelow Aerospace the
                                                           16   Contract Amount, and by demanding that Bigelow Aerospace perform new tasks which were not
                                                           17   required under the terms of the Contract, as a condition to NASA paying Bigelow Aerospace the
                                                           18   Contract Amount.
                                                           19             43.    As a direct and proximate result of the breach of the implied covenant of good faith
                                                           20   and fair dealing by NASA, Bigelow Aerospace has been damaged in an amount in excess of
                                                           21   $1,000,000.00.
                                                           22             44.    Bigelow Aerospace has been required to incur attorneys fees and costs in
                                                           23   prosecuting this matter and pursuant to the Contract and the laws of the United States of America,
                                                           24   should be awarded those attorneys fees and costs from NASA incurred in bringing and prosecuting
                                                           25   this suit.
                                                           26   ///
                                                           27   ///
                                                           28   ///

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                                                            1                                     THIRD CAUSE OF ACTION
                                                            2                                          (Unjust Enrichment)
                                                            3           45.    Bigelow Aerospace hereby repeats and realleges each and every allegation contained
                                                            4   in Paragraphs 1 through 44 inclusive, and incorporate the same as though fully set forth herein.
                                                            5           46.    Through the performance of the Contract and good faith actions provided by
                                                            6   Bigelow Aerospace as alleged above, NASA has obtained, accepted, and enjoyed the benefits of
                                                            7   Bigelow Aerospace having completed the LDL Test and having provided NASA with the LDL Test
                                                            8   Reports, related to the 8-month LDL Test performed on the B330, and demonstration of the
                                                            9   viability of the B330 module.
                                                           10           47.    The foregoing benefits expended and/or provided by Bigelow Aerospace were only
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                                                           11   expended and/or provided in accordance with the Contract, and with the expectation by Bigelow
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                           Henderson, Nevada 89074




                                                           12   Aerospace that NASA would pay the Contract Amount to Bigelow Aerospace upon Bigelow
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                                                           13   completing the LDL Test and submitting the LDL Test Reports to NASA, according the testing
                                                           14   standards and schedule agreed upon by NASA and Bigelow Aerospace.
                                                           15           48.    In undertaking and participating in the activities alleged above, Bigelow Aerospace
                                                           16   has reduced the profits, assets, and business opportunities of Bigelow Aerospace that would have
                                                           17   otherwise benefitted, been distributed to, and remained in possession of Bigelow Aerospace, and
                                                           18   not NASA.
                                                           19           49.    As a result, Bigelow Aerospace has been unjustly enriched in an amount greater than
                                                           20   $1,000,000.00, reducing the assets, profits, and business opportunities, of Bigelow Aerospace, as
                                                           21   described above.
                                                           22           50.    Bigelow Aerospace has been required to incur attorneys fees and costs in
                                                           23   prosecuting this matter and pursuant to the Contract and the laws of the United States of America,
                                                           24   should be awarded those attorneys fees and costs from NASA incurred in bringing and prosecuting
                                                           25   this suit.
                                                           26   ///
                                                           27   ///
                                                           28   ///

                                                                                                                 10
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                                                            1                                        PRAYER FOR RELIEF
                                                            2          WHEREFORE, Bigelow Aerospace prays for relief against NASA as follows:
                                                            3          1.      For a declaration of the rights, duties and privileges existing between Bigelow
                                                            4   Aerospace and NASA, and each of them herein;
                                                            5          2.      For general, special and consequential damages as pled in this Complaint, in excess
                                                            6   of $1,000,000.00 in an amount to be determined at trial;
                                                            7          3.      For reasonable attorney’s fees, costs, pursuant to statute, common law and/or
                                                            8   contract;
                                                            9          4.      For such other relief as is necessary, including equitable and/or monetary relief, for a
                                                           10   just adjudication of this matter;
GERRARD, COX & LARSEN




                                                           11          5.      For prejudgment interest on all claims by Bigelow Aerospace herein; and
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                           Henderson, Nevada 89074




                                                           12          6.      For any other relief as the Court deems just and proper under the circumstances.
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                                                           13          Dated this 25th day of March, 2021
                                                           14                                                          GERRARD COX LARSEN
                                                           15
                                                           16                                                           /s/ Douglas D. Gerrard
                                                                                                                       Douglas D. Gerrard, Esq.
                                                           17                                                          Nevada Bar No. 4613
                                                                                                                       John M. Langeveld, Esq.
                                                           18                                                          Nevada Bar No. 11628
                                                                                                                       2450 St. Rose Parkway, Suite 200
                                                           19                                                          Henderson, Nevada 89074
                                                                                                                       Attorneys for BIGELOW AEROSPACE, LLC
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